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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                                LONDON DIVISION
                         CIVIL ACTION NO. 6:18-cv-139-DCR
                                 Filed Electronically

In re: 1671 Lum Strunk Road, Strunk, KY 42649

UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.

KIMBERLY STEPHENS, ET AL                                                   DEFENDANTS

                                  ENTRY OF DEFAULT

                                         *********

        It appearing that the Complaint herein was filed on April 27, 2018; the Defendants,
Kimberly Stephens, and the Unknown Spouse of Kimberly Stephens, have been served via
Warning Order Attorney, and Defendant Federal Home Loan Bank of Cincinnati, has been served
via certified mail, and that no answer or other pleading has been filed by said defendants as
required by law:

      NOW, THEREFORE, upon request of Plaintiff, default is hereby entered against the
Defendants, Kimberly Stephens, the Unknown Spouse of Kimberly Stephens, and Federal Home
Loan Bank of Cincinnati, as provided in Rule 55(a), Federal Rules of Civil Procedure.

       This the ___
                 29th day of ____________
                               August     2018.

                                                  ROBERT R. CARR
                                                  U. S. DISTRICT COURT CLERK

                                                  By:     Renee B. Bundy

                                                         Deputy Clerk




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